Case 18-15691-CMG Doc 43-18 Filed 05/08/18 Entered 05/08/18 21:30:37              Desc
        Exhibit P - 3-1-18 order in Engelberg Derivative Litigation Page 1 of 3




                                Exhibit P
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                      Exhibit P - 3-1-18 order in Engelberg Derivative Litigation Page 2 of 3
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             SHORT FORM ORDER.

                                    SUPREME COURT - STATE OF NEW YORK
                   Present:
                                          HON. STEPHEN A. BUCARIA
                                                                Justice.

                                                                       TRIAL/lAS, PART 1
             MICHAEL ENGELBERG, derivatively on behalf                 NASSAU COUNTY
             of the American Center for Civil Justice, Inc.,

                                                                       INDEX No. 606919/14
                                    Plaintiff,
                                                                       MOTION DATE: 02/15/18
                                                                       Motion Sequence 016
                          -against-

             ELIEZER PERR, JEDIDIAH PERR and
             MILTON POLLACK, and AMEIUCAN CENTER
             FOR CIVIL JUSTICE, RELIGIOUS LIBERTY
             AND TOLERANCE; INC.

                                    Defendants.

             THE AMERICAN CENTER FOR CIVIL JUSTICE, INC.,

                                    N aminal Defendant.


             THE NEW YORK CENTER FOR CIVIL JUSTICE,
             TOLERANCE & VALUES, INC.,

                                     Additional Defendant on Counterclaims.




                    The following papers read on this motion:

                              Notice of Motion                         XX
                              Affirmation. in Support.                 XX




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NYSCEF DOC.Case
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                 465                 Doc 43-18 Filed 05/08/18 Entered 05/08/18      21:30:37
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                     Exhibit P - 3-1-18 order in Engelberg Derivative Litigation Page 3 of 3

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         ENGELBERG v PERR                                        Index No.': 606919/14

                Motion by Koffsky .Schwalb L~C for leave withdraw as counsel for defendants
         Eliezer Perr and Milton Pollack in the above action is denied. Although counsel alleges that
         defendants have failed to pay $74,000 in-legal fees, counsePhas not established that
         defendants have deliberately disregarded an obligation to cOUllsel as to the payment of
         counsel fees or expenses (See Rule 1.16[cJ[5J of the Professional Conduct Rules). The court
         notes that Koffsky Schwalb was granted a legal fee in the amount of$149,300, to be paid by
         defendant American Center for. Civil Justice, Inc. on March 20, 2017.

                 So ordered.


         Date:           FEB 2 8 2018

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                                                                                  COUNTY CLERK'S OFFICE




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